     Case 2:85-cv-04544-DMG-AGR Document 1045 Filed 11/30/20 Page 1 of 6 Page ID
                                     #:42264


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                           UNITED STATES DISTRICT COURT
                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
11
      JENNY LISETTE FLORES; et al.,        Case No. CV 85-4544-DMG
12

13           Plaintiffs,
14                                         JOINT STATUS REPORT
                  v.
15
      WILLIAM P. BARR, Attorney General
16
      of the United States; et al.,
17

18           Defendants.
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     Case 2:85-cv-04544-DMG-AGR Document 1045 Filed 11/30/20 Page 2 of 6 Page ID
                                     #:42265


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     Case 2:85-cv-04544-DMG-AGR Document 1045 Filed 11/30/20 Page 3 of 6 Page ID
                                     #:42266


1          On September 18, 2020, the Court granted in part and denied in part
2    Plaintiffs’ request for a remedy for ongoing breaches of Paragraphs 14 and 18 of
3    the Flores Settlement Agreement (“FSA”) by Defendant Immigration and Customs
4    Enforcement (“ICE”). [Doc. # 987.]
5          In accordance with those provisions, as well as Paragraphs 12A and 29 of
6    the FSA, the Court ordered ICE to disseminate to Class Members and their parents
7    or guardians a Notice of Rights, as revised by the Court, and to update its own

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     internal policy or instruction consistent with Paragraph 29 and Exhibit 2 of the

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     FSA, as well as the Court’s order. Sept. 18, 2020 Order at 10 [Doc. # 987].
           On October 16, 2020, the parties submitted a Joint Report regarding the
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     Court’s Revised Notice of Rights setting forth their proposed revisions and
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     disagreements as to the Notice. [Doc. # 1007.] The Joint Report also included an
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     ICE Directive setting forth instructions for ICE personnel to disseminate the Notice
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     of Rights and implement a procedure by which parents can affirmatively,
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     knowingly, and voluntarily consent to the release of a Class Member child to a
15
     vetted custodian under Paragraph 14 of the FSA. [Doc. # 1007-1.]
16
           On October 21, 2020, Plaintiffs and Amici Curiae Human Rights Watch,
17   Amnesty International, Aldea - The People’s Justice Center, Proyecto Dilley, and
18   the Refugee and Immigrant Center for Education and Legal Services (“RAICES”)
19   filed responses to Defendants’ draft ICE Directive with their suggested edits to the
20   Directive’s language. [Doc. ## 1010, 1011.]
21         The Court held a status conference on October 23, 2020 at which the Court
22   addressed the Proposed Notice and ICE Directive.
23         Following the status conference, the Court e-mailed to the parties and Amici

24
     the Court’s additional edits to the draft Notice of Rights and to the ICE Directive,
     having considered the parties’ proposed revisions. The parties and Amici were
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     ordered to meet and confer, with the assistance of the Independent Monitor,
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     regarding the Court’s edits/comments to the proposed Notice of Rights and the ICE

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     Case 2:85-cv-04544-DMG-AGR Document 1045 Filed 11/30/20 Page 4 of 6 Page ID
                                     #:42267


1    Directive. The parties were Ordered to file a Joint Status Report regarding the Notice
2    of Rights and ICE Directive by November 30, 2020. [Doc. # 1002].
3          In accordance with the Court’s Order, the parties file the following joint
4    report.
5          With the assistance of the Independent Monitor, Ms. Ordin, the parties and
6    Amici have met and conferred regarding the Court’s edits/comments to the
7    proposed Notice of Rights and the ICE Directive.

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           The parties have exchanged written comments and proposed changes to the

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     Court’s draft of the proposed Notice of Rights, and have discussed the outstanding
     issues that remain to be resolved. The parties expect to either resolve any
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     remaining outstanding issues or submit them to the Court for resolution no later
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     than December 3, 2020.
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           With regard to the Directives, Plaintiffs have summitted to Defendants
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     written comments on the Court’s draft of the ICE Directive. Defendants are still
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     considering whether there are alternative processes that they can propose to
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     address the Court’s edits to their proposed document. Defendants have asked
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     Plaintiffs and Amici for ideas on alternative ways to address the government’s
17   concern that it should be the responsibility of a third-party and not ICE to
18   determine whether a parent is making a knowing and voluntary decision to be
19   separated from his or her child. No party has proposed any alternative. Defendants
20   are considering the issues and ideas raised by Amici, but note that several of these
21   suggestions are outside the scope of the Flores Settlement Agreement. Defendants
22   will continue to meet and confer with Plaintiffs to see if alternative processes can
23   be agreed upon, or whether Defendants will submit these issues to the Court for

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     resolution.
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     Case 2:85-cv-04544-DMG-AGR Document 1045 Filed 11/30/20 Page 5 of 6 Page ID
                                     #:42268


1    DATED: November 30, 2020          /s/Peter Schey
2                                      Class Counsel for Plaintiffs
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3                                      CONSTITUTIONAL LAW
4                                      Peter A. Schey
                                       Carlos Holguín
5

6    DATED: November 30, 2020          ETHAN P. DAVIS
                                       Acting Assistant Attorney General
7                                      Civil Division
8
                                       WILLIAM C. PEACHEY
9                                      Director, District Court Section
10
                                       Office of Immigration Litigation

11                                     WILLIAM C. SILVIS
12
                                       Assistant Director, District Court Section
                                       Office of Immigration Litigation
13
                                       /s/ Sarah B. Fabian (with permission)
14
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     Case 2:85-cv-04544-DMG-AGR Document 1045 Filed 11/30/20 Page 6 of 6 Page ID
                                     #:42269


1                              CERTIFICATE OF SERVICE
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           I hereby certify that on November 30, 2020, I served the foregoing pleading
3

4    on all counsel of record by means of the District Clerk’s CM/ECF electronic filing
5
     system.
6

7
                                           /s/Peter Schey
8                                          Counsel for Plaintiffs
9
                                           CENTER FOR HUMAN RIGHTS &
                                           CONSTITUTIONAL LAW
10                                         Peter A. Schey
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